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1    SIDLEY AUSTIN LLP
     Sheila A.G. Armbrust (SBN 265998)
2    sarmbrust@sidley.com
     Stephen Chang (SBN 312580)
3    stephen.chang@sidley.com
     555 California Street, Suite 2000
4    San Francisco, CA 94104
     Telephone: (415) 772-1200
5    Facsimile: (415) 772-7400
6    Hille R. Sheppard (pro hac vice)
     hsheppard@sidley.com
7    One South Dearborn
     Chicago, Illinois 60603
8    Telephone: (312) 853-7000
     Facsimile: (312) 853-7036
9
     Attorneys for Defendant
10   Western Union Financial Services, Inc.
11

12                                UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA
14                                       OAKLAND DIVISION
15

16   NELSON SEQUEIRA, ORSAY ALEGRIA, and            Case No. 4:22-cv-07996-HSG
     ISMAEL CORDERO, individually and on
17   behalf of all others similarly situated,
                                                    DECLARATION OF SHEILA A.G.
18                 Plaintiffs,                      ARMBRUST IN SUPPORT OF WESTERN
                                                    UNION FINANCIAL SERVICES, INC.’S
            v.                                      MOTION TO DISMISS AMENDED
19
                                                    COMPLAINT
     U.S. DEPARTMENT OF HOMELAND
20   SECURITY; U.S. IMMIGRATION &
     CUSTOMS ENFORCEMENT; WESTERN                   Date: May 18, 2023
21   UNION FINANCIAL SERVICES, INC., a              Time: 2:00 PM
     Colorado corporation; CONTINENTAL              Place: Courtroom 2, 4th Floor, Oakland
22   EXCHANGE SOLUTIONS, INC., a Kansas             Judge: Honorable Haywood S. Gilliam, Jr.
     corporation, d/b/a RIA FINANCIAL
23   SERVICES and AFEX MONEY EXPRESS;               Amended Complaint Filed: January 24, 2023
     VIAMERICAS CORPORATION, a Delaware
24   Corporation; and DOLEX DOLLAR EXPRESS,
     INC., a Texas corporation,
25
                   Defendants.
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     DECLARATION OF SHEILA A.G. ARMBRUST IN SUPPORT OF WESTERN UNION FINANCIAL SERVICES, INC.’S
                MOTION TO DISMISS AMENDED COMPLAINT, CASE NO. 4:22-CV-07996-HSG
           Case 4:22-cv-07996-HSG Document 70-1 Filed 03/03/23 Page 2 of 3



1                             DECLARATION OF SHEILA A.G. ARMBRUST

2             I, Sheila A.G. Armbrust, declare as follows:

3             1.     I am an attorney, duly licensed to practice law in the State of California, and am

4    admitted before this Court. I am a partner with the law firm of Sidley Austin LLP, counsel of record

5    for Defendant Western Union Financial Services, Inc. (“Western Union”) in this action. The facts

6    stated herein are true and correct based upon my own personal knowledge and, if called as a witness

7    to testify, I could and would competently testify thereto. I submit this declaration in support of

8    Western Union Financial Services, Inc.’s Motion to Dismiss Plaintiff’s Amended Complaint.

9             2.     Attached as exhibits to this declaration are true and correct copies of the following
10   documents:

11            Exhibit A:     The February 11, 2010 Settlement Agreement Between Western Union and
                             the Arizona Attorney General (“Arizona Settlement Agreement”)1
12
              Exhibit B:     The Superior Court of the State of Arizona in and for the County of
13                           Maricopa the (“Arizona Court”) February 24, 2010 Order Approving the
                             Arizona Settlement Agreement and Appointing Monitor (“2010 Arizona
14                           Court Order”)
15            Exhibit C:     The Arizona Court’s January 31, 2014 Order Approving Amendment to the
                             Arizona Settlement Agreement (“Jan. 2014 Arizona Court Order”)
16
              Exhibit D:     Western Union and the Arizona Attorney General’s January 31, 2014
17                           Stipulated Motion for Approval of Amendment to the Arizona Settlement
                             Agreement, and attaching the Amendment as Exhibit 1 (“Jan. 2014
18                           Settlement Amendment”)
19            Exhibit E:     The Arizona Court’s October 17, 2014 Order Granting Stipulation to Extend
                             Time for Production of Data (“Oct. 2014 Arizona Court Order”)
20
              Exhibit F:     The Arizona Court’s June 28, 2019 Order of Dismissal with Prejudice
21                           Concluding the Arizona Settlement Agreement (“2019 Arizona Court
                             Order”)
22
              Exhibit G:     Senator Ron Wyden’s January 18, 2023 letter to the Department of Justice
23                           Inspector General Michael E. Horowitz (“2023 Wyden Letter”)
24            Exhibit H:     Senator Ron Wyden’s March 8, 2022 letter to the Department of Homeland
                             Security Inspector General Joseph V. Cuffari (“2022 Wyden Letter”)
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     1
      Defined Terms are intended to have the same meaning as terms used in Western Union’s Motion to
28   Dismiss.
                                                    1
         DECLARATION OF SHEILA A.G. ARMBRUST IN SUPPORT OF WESTERN UNION FINANCIAL SERVICES, INC.’S
                    MOTION TO DISMISS AMENDED COMPLAINT, CASE NO. 4:22-CV-07996-HSG
         Case 4:22-cv-07996-HSG Document 70-1 Filed 03/03/23 Page 3 of 3



 1          I declare under penalty of perjury that the foregoing is true and correct. Executed this 3rd

 2   day of March 2023, at San Francisco, California.

 3

 4
                                            By: /s/ Sheila A.G. Armbrust
 5                                              Sheila A.G. Armbrust (SBN 265998)
 6                                              Sidley Austin LLP

 7                                                Attorney for Defendant Western Union Financial
                                                  Services, Inc.
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      DECLARATION OF SHEILA A.G. ARMBRUST IN SUPPORT OF WESTERN UNION FINANCIAL SERVICES, INC.’S
                 MOTION TO DISMISS AMENDED COMPLAINT, CASE NO. 4:22-CV-07996-HSG
